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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,
 600 Pennsylvania Ave., NW
 Washington, DC 20580,
                                                            Case No. 1:23-cv-1549
                        Plaintiff,

        v.                                                  PLAINTIFF’S UNOPPOSED MOTION TO
                                                            ENTER STIPULATED ORDER FOR
 RING LLC,                                                  INJUNCTION AND MONETARY RELIEF
 a Delaware limited liability company,
 12515 Cerise Ave
 Hawthorne, CA 90250,

                        Defendant.


       Plaintiff, the Federal Trade Commission (“FTC”), by and through its undersigned

counsel, respectfully moves for entry of the attached proposed Stipulated Order for Injunction

and Monetary Relief (“Stipulated Order”) that accompanies this motion. All parties have agreed

to the terms of the Stipulated Order, as evidenced by their signatures thereon, to resolve this

action. The FTC believes that entry of this Stipulated Order would most efficiently further the

ends of justice in this case. Pursuant to Local Civil Rule 7(m), undersigned counsel conferred

with counsel for Ring LLC, who indicated that the motion was unopposed prior to filing.




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       WHEREFORE, Plaintiff respectfully requests that the Court enter the Stipulated Order for

Injunction and Monetary Relief.

Dated: May 31, 2023



                                           Respectfully submitted,



                                           __/s/ Elisa Jillson_______________
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                          LOCAL RULE 7(k) CERTIFICATION
               Names of Persons to Be Served with Proposed Stipulated Order

        Pursuant to Local Civil Rule 7(k), the following attorneys are entitled to be notified of the
entry of the foregoing Stipulated Order:

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*Pro hac vice motion pending




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